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      UNITED STATES DISTRICT COURT FOR THE MIDDLE DISTRICT OF GEORGIA
                              Heidarpour v. Central Payment Co., LLC
                                   Case No. 4:15-cv-139 (CDL)

 If pre-recorded calls from Central Payment were directed to
your cellular telephone OR residential telephone line, you could
          get a payment from a class action settlement.
          A federal court authorized this Notice. This is not a solicitation from a lawyer.
x          Central Payment Co., LLC (“Central Payment”) has agreed to pay $6,500,000 into a
      fund from which eligible persons or entities who file claims will receive cash awards,
      estimated to be approximately $100-150 per claim.
x     The settlement resolves a lawsuit involving allegations that third parties hired by Central
      Payment called people on or after August 18, 2011 using an artificial or prerecorded voice
      and calling telephone (1) cellular telephone numbers, (2) residential lines and/or (3) numbers
      previously registered on the National Do-Not-Call Registry.
x     Court-appointed lawyers for the class (“Class Counsel”) will ask the Court for up to
      $2,166,666 of the fund as attorneys’ fees plus reimbursement of their out-of-pocket expenses
      they paid to investigate the facts, litigate the case, and negotiate the settlement.
x     Central Payment denies all allegations of wrongdoing in the lawsuit. As part of the proposed
      settlement, Central Payment does not admit to any wrongdoing and continues to deny the
      allegations against it.
x     The two sides disagree on whether Plaintiff and the class could have won at trial.
x     Your legal rights are affected whether you act, or don’t act. Read this Notice carefully.

               YOUR LEGAL RIGHTS AND OPTIONS IN THIS SETTLEMENT:

    SUBMIT A CLAIM FORM BY
                           This is the only way to receive a payment.
        APRIL 14, 2017

                                  Get no payment. This is the only option that allows you to ever
     EXCLUDE YOURSELF BY
                                  be part of any other lawsuit against Central Payment about the
        APRIL 14, 2017
                                  legal claims in this case.

           OBJECT BY
                                  Write to the Court explaining why you don’t like the settlement.
         APRIL 14, 2017

     ATTEND A HEARING ON
                                  Ask to speak in Court about the fairness of the settlement.
         MAY 4, 2017

          DO NOTHING              Get no payment. Give up rights.




         QUESTIONS? CALL 1-855-770-0003 TOLL FREE OR VISIT www.paymentprocessorTCPA.com
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                                         BASIC INFORMATION
 1. What is this Notice and why should I read it?


The purpose of this Notice is to let you know that a proposed settlement has been reached in the class
action lawsuit entitled Heidarpour v. Central Payment Co., LLC , No. 4:15-cv-139 (CDL). You have legal
rights and options that you may act on before the Court decides whether to approve the proposed
settlement. Because your rights will be affected by this settlement, it is extremely important that you read
this Notice carefully. This Notice summarizes the settlement and your rights under it.

 2. What is this lawsuit about?


In a class action, one or more people, called class representatives, sue on behalf of people who have
similar claims. All of these people are a class, or class members. One court resolves the issues for all class
members, except those who exclude themselves from the class.

Here, the class representative claims that, on or after August 18, 2011, Central Payment violated the
Telephone Consumer Protection Act (“TCPA”) by making calls to residential or cellular telephones
through the use of an automatic telephone dialing system or an artificial or prerecorded voice and to
telephone numbers that were listed on the National Do-Not-Call Registry. The class representative claims
that Central Payment did not have the recipients’ permission to make these calls.

The Court has certified a class for settlement purposes only (the “Settlement Class”). U.S. District Court
Judge Clay D. Land (the “Court”) is in charge of this class action.

Central Payment denies that it did anything wrong, and denies that this case would be certified as a class
action in litigation.

                                           THE SETTLEMENT
 3. Why is there a settlement?


The Court did not decide in favor of the Plaintiff or Central Payment. Instead, both sides agreed to a
settlement. That way, they avoid the cost of a trial, and the people affected will get compensation. The
class representatives and their attorneys think the settlement is best for the Settlement Class.

                                 WHO IS IN THE SETTLEMENT?
 4. How do I know if I am a part of the settlement?


You are in the “Settlement Class” if, on or after August 18, 2011, Central Payment, or a third party acting
on Central Payment’s behalf:

       (1) Called you on a residential or cellular telephone using an automatic telephone dialing system
              or prerecorded voice; or


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       (2) Called you two or more times within a twelve month period on a telephone number that was on
              the National Do-Not-Call Registry.

The Settlement Class does not include Central Payment, any entity that has a controlling interest in
Central Payment, and Central Payment’s current or former directors, officers, counsel, and their
immediate families. The Settlement Class also does not include any persons who validly request exclusion
from the Settlement Class, as described under Question 10. A person who does not exclude him or herself
is a “Settlement Class Member.”

If you have questions about whether you are part of the Settlement Class, you may call 1-855-770-0003 or
visit www.paymentprocessorTCPA.com for more information.

                    THE SETTLEMENT BENEFITS – WHAT YOU GET
 5. What does the settlement provide?


Central Payment has agreed to pay $6,500,000 to be divided among all Settlement Class Members who
send in a valid Claim Form after any fees, costs, service awards, and settlement administration expenses
have been deducted.

Central Payment has also agreed to create policies and procedures of not making telemarketing calls
promoting Central Payment’s products and services using pre-recorded messages.

 6. How much will my payment be?


Your share of the settlement will depend on the number of Claim Forms that Settlement Class Members
submit. Class Counsel estimate you will receive approximately $100-$150 per claim, but this is only an
estimate.

            HOW YOU GET A PAYMENT – SUBMITTING A CLAIM FORM
 7. How do I make a claim?


To qualify for payment, you must submit a Claim Form by April 14, 2017. There are multiple ways to
submit a Claim Form. A Claim Form was mailed to potential Class Members in the form of a postcard
notice. Read the instructions on the postcard carefully, fill out the form, sign it, and mail it postmarked no
later than April 14, 2017. You may also submit a Claim Form online by going to the Settlement Website
at www.paymentprocessorTCPA.com and following directions. You may update your address information
by logging on to the website. You also may download a paper Claim Form on the Settlement Website or
call the Settlement Administrator at 1-855-770-0003. Claim Forms sent by mail must be postmarked by
April 14, 2017and mailed to:




           QUESTIONS? CALL 1-855-770-0003 TOLL FREE OR VISIT www.paymentprocessorTCPA.com
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                                       Central Payment Settlement
                                         Claims Administrator
                                              P.O. Box 421
                                          Claysburg, PA 16625


 8. When will I get my payment?

The Court will hold a hearing on May 4, 2017 at 10:00 a.m. to decide whether to approve the settlement.
If the settlement is approved, appeals may still follow. It is always uncertain whether these appeals can be
resolved, and resolving them can take more than a year. Please be patient.

 9. What am I giving up to get a payment or stay in the Settlement Class?

Unless you exclude yourself, you are staying in the Settlement Class and you will be a Settlement Class
Member. That means you can’t sue, continue to sue, or be part of any other lawsuit against Central
Payment regarding the TCPA claims that are subject to the settlement. If the settlement is approved and
becomes final and not subject to appeal, then you and all Class Members release all “Released Claims”
against all “Released Parties.” It also means that all of the Court’s orders will apply to you and legally
bind you.
The Settlement Agreement (available at www.paymentprocessorTCPA.com) describes the claims you are
releasing (the “Released Claims”) and against whom you are releasing claims (“Released Parties”) in
detail, so read it carefully. To summarize, the release includes TCPA claims that arise out of the improper
use of an “automatic telephone dialing system” and/or an “artificial or prerecorded voice” to make
telephone calls to residential or cellular phones, or calling telephone numbers on the National Do-Not-
Call Registry without consent by Central Payment or on Central Payment’s behalf.


                   EXCLUDING YOURSELF FROM THE SETTLEMENT
If you don’t want a payment from this settlement, but you want to keep the right to sue or continue to sue
Central Payment, then you must take steps to remove yourself from the Settlement Class. This is called
excluding yourself—or is sometimes referred to as “opting out” of the Settlement Class.

 10. How do I get out of the settlement?

To exclude yourself from the settlement, you must send a letter saying that you want to be excluded from
the Heidarpour v. Central Payment Co., LLC settlement. You must sign the letter and include the
following statement: “I request to be excluded from the settlement in the Central Payment action.” Please
be sure to include your name, address, telephone number, and signature. You must mail your exclusion
request postmarked no later than April 14, 2017 to the following address:
                                       Central Payment Settlement
                                        Settlement Administrator
                                          Attention: Exclusion
                                              P.O. Box 421
                                         Claysburg, PA 16625


           QUESTIONS? CALL 1-855-770-0003 TOLL FREE OR VISIT www.paymentprocessorTCPA.com
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You cannot exclude yourself on the phone or by fax or email. If you ask to be excluded, you will not
get any payment, and you cannot object to the settlement. You will not be legally bound by anything
that happens in this lawsuit. You may be able to sue (or continue to sue) Central Payment in the
future.

 11. If I don’t exclude myself, can I sue Central Payment for the same thing later?

No. Unless you exclude yourself, you give up any right to sue Central Payment for the claims that this
settlement resolves. If you already have a lawsuit that may relate to the claims being released as part of
this class settlement, you should speak to your lawyer in that case immediately. You must exclude
yourself from this Settlement Class to continue your own lawsuit. Remember, the exclusion deadline is
April 14, 2017.

 12. If I exclude myself, can I get anything from this settlement?

No. If you exclude yourself, do not submit a Claim Form to ask for a payment.

                           THE LAWYERS REPRESENTING YOU
 13. Do I have a lawyer in this case?


The Court has appointed Broderick & Paronich, P.C., The Law Office of Matthew P. McCue and The
Koval Firm, LLC to represent you and other Settlement Class Members. These lawyers are called Class
Counsel. You will not be charged for these lawyers. If you want to be represented by your own lawyer,
you may hire one at your own expense.

 14. How will the lawyers be paid?


Class Counsel will ask the Court to approve payment of up to $2,166,666 to them for attorneys’ fees,
together with $43,900.41 to cover out of pocket expenses. This amounts to 33 1/3% of the total
$6,500,000 fund for attorneys’ fees. This payment would pay Class Counsel for their time in investigating
the facts, litigating the case, and negotiating the settlement. Class Counsel also will request a service
award of $25,000 for the named Plaintiff to compensate him for his time and effort. The Court may award
less than these amounts.

                             OBJECTING TO THE SETTLEMENT
 15. How do I object to the settlement?

If you are a Settlement Class member and you do not exclude yourself from the Settlement Class, you can
object to the settlement if you don’t like any part of it. You may give reasons why you think the Court
should not approve it. The Court will consider your views. To object, you must send a letter saying that
you object to Heidarpour v. Central Payment Co., LLC. You must make your objection in writing and file
it with the Court. The written objection by a class member must include: his or her full name; address;
telephone number or numbers that he or she maintains were called; all grounds in detail for the objection,

          QUESTIONS? CALL 1-855-770-0003 TOLL FREE OR VISIT www.paymentprocessorTCPA.com
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with factual and legal support for each stated ground; the identity of any witnesses he or she may call to
testify; copies of any exhibits that he or she intends to introduce into evidence at the Final Approval
Hearing; a statement of the identity (including name, address, phone number and email) of any lawyer
who was consulted or assisted with respect to any objection, and a statement of whether he or she intends
to appear at the Final Approval Hearing with or without counsel. Any member of the Settlement Class
who fails to timely file a written objection in accordance with the terms of this paragraph and as detailed
in the Notice, and at the same time provide a copy of the filed objection to the Settlement Administrator,
shall not be permitted to object to this Agreement at the Final Approval Hearing, and shall be foreclosed
from seeking any review of this Agreement by appeal or other means and shall be deemed to have waived
his or her objections and be forever barred from making any such objections in the Action or any other
action or proceeding. You must file the objection with the Court no later than April 14, 2017.
                               Heidarpour v. Central Payment Co., LLC
                                      Case No. 4:15-cv-139 (CDL)
                                           Clerk of the Court
                          U.S. District Court for the Middle District of Georgia
                                               120 12th St.
                                          Columbus, GA 31902

 16. What’s the difference between objecting and excluding myself from the settlement?

Objecting simply means telling the Court that you don’t like something about the settlement. You can
object only if you stay in the Settlement Class. Excluding yourself from the Settlement Class is telling the
Court that you don’t want to be part of the Settlement Class. If you exclude yourself, you have no basis to
object because the case no longer affects you.

                             THE COURT’S FAIRNESS HEARING
 17. When and where will the Court hold a hearing on the fairness of the settlement?


The Court will hold the final fairness hearing at 10:00 a.m.. on May 4, 2017, before the Honorable Clay
D. Land at the United States District Court for the Middle District of Georgia, 120 12th St., Columbus, GA
31902. The purpose of the hearing is for the Court to determine whether the settlement is fair, reasonable,
adequate, and in the best interests of the class. At the hearing, the Court will hear any objections and
arguments concerning the fairness of the proposed settlement, including those related to the amount
requested by Class Counsel for attorneys’ fees and expenses and the incentive award to the class
representative. After the hearing, the Court will decide whether to approve the settlement. We do not
know how long these decisions will take.

Note: The date and time of the fairness hearing are subject to change by Court Order. Any changes will be
posted at the Settlement website, www.paymentprocessorTCPA.com.


 18. Do I have to come to the hearing?


No. Class Counsel will answer any questions the Court may have. But you are welcome to come to the
hearing at your own expense. If you send an objection, you don’t have to come to Court to talk about it.


          QUESTIONS? CALL 1-855-770-0003 TOLL FREE OR VISIT www.paymentprocessorTCPA.com
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As long as your written objection was filed or mailed on time, and meets the other criteria described in the
Settlement Agreement, the Court will consider it. You may also pay a lawyer to attend, but you don’t have
to.

 19. May I speak at the hearing?


If you do not exclude yourself from the Settlement Class, you may ask the Court for permission to speak
at the hearing concerning any part of the proposed Settlement Agreement. If you filed an objection (see
Question 15, above) and intend to appear at the hearing, you must state your intention to do so in your
objection. You cannot speak at the hearing if you exclude yourself.


                                       IF YOU DO NOTHING
 20. What happens if I do nothing at all?

If you do nothing, you’ll get no money from this settlement. But, unless you exclude yourself, you won’t
be able to start a lawsuit, continue with a lawsuit, or be part of any other lawsuit against Central Payment
about the legal issues released in this case.

                               GETTING MORE INFORMATION
 21. Are there more details about the settlement?


This notice summarizes the proposed settlement. More details are in the Settlement Agreement. You may
review the Settlement Agreement on the Settlement Website at www.paymentprocessorTCPA.com. You
can also get a copy of the Settlement Agreement by writing to Anthony Paronich, Broderick & Paronich,
P.C., 99 High St., Suite 304, Boston, MA 02110, anthony@broderick-law.com.

 22. How do I get more information?


You can call 1-855-770-0003 toll free; write to Central Payment Settlement Administrator, P.O. Box 421,
Claysburg, PA 16625; or visit the website at www.paymentprocessorTCPA.com., where you will find
answers to common questions about the settlement, a Claim Form, plus other information to help you
determine whether you are a member of the Settlement Class. You also may write to Anthony Paronich,
Broderick & Paronich, 99 High St., Suite 304, Boston, MA 02110, anthony@broderick-law.com.

PLEASE DO NOT CONTACT THE COURT, THE JUDGE, OR THE DEFENDANT WITH
        QUESTIONS ABOUT THE SETTLEMENT OR CLAIMS PROCESS.




          QUESTIONS? CALL 1-855-770-0003 TOLL FREE OR VISIT www.paymentprocessorTCPA.com
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